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                            UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF COLUMBIA


 WALTER L. GOODWIN,                               Case No. CIV No. 14-01724

                        Plaintiff,
                                                  DECLARATION OF BETH OCHOA,
 v.                                               GOVERNMENT INFORMATION
                                                  SPECIALIST

 FEDERAL BUREAU OF PRISONS,

                        Defendant.

       I, Beth Ochoa, declare and state as follows:

       1.      I am a Government Information Specialist, with the United States Department of

Justice (DOJ), Federal Bureau of Prisons (BOP), serving in the Western Regional Office in

Stockton, California.

       2.      As part of my duties, I am familiar with the records compiled by the BOP and

have access thereto. I have received training in the processing of Freedom of Information Act

(FOIA) requests, and have been so employed since November of 2013. I have been employed by

the BOP for over 22 years, working in different BOP law enforcement positions in correctional

settings prior to my current position. Among the many duties I perform is the maintenance of

records pertaining to requests for information processed by the BOP under the DOJ’s FOIA

regulations. In the ordinary course of my duties, I also provide information and assistance to

various federal agencies in connection with ongoing criminal and civil litigation.

       3.      I conducted a search of BOP FOIA records and determined that I processed the

FOIA request assigned tracking number 20014-04855 from Walter Goodwin, federal register

number (Reg. No.) 32453-160. I am knowledgeable about the search for the applicable records,

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assisted in the screening of such records pursuant to FOIA and Privacy Act regulations, and

reviewed and made recommendations for releasability, including drafting the agency response

related to this request. Although BOP Regional Counsel, Mr. Dennis Wong, is the individual

who ultimately determines the releasability of documents or items requested through the FOIA

process in the Western Region, I made the recommendations for releasability that Mr. Wong

eventually approved via his signed letter to Mr. Ziegler dated March 21, 2014.

       4.      On or about February 25, 2014, the BOP received a written request for a copy of

the “Video Recording of an incident on October 25, 2013, occurring at USP Tucson in the

Psychology department at approximately 9:45am.” The request is attached as Exhibit 1 to this

Declaration. Upon receipt of this request, a letter was generated and mailed to Mr. Goodwin

explaining that his request has been received, advising him of the tracking number which had

been assigned, and explaining his request would be handled in the order in which it was received.

This letter is provided as Exhibit 2 to this declaration.

       5.      On February 28, 2014, I initiated a search for any relevant record by sending an e-

mail to C. Hammock, Warden’s Secretary, requesting that a search for the requested record be

conducted, that information relevant to the search be recorded in a form I titled a FOIA Request

Worksheet that I also sent, and asking that any responsive items be sent to me. Exhibit 3 is a

copy of this e-mail communication. On March 3, 2014, I received an e-mail response from C.

Hammock in which it was explained that footage from a surveillance camera was located

responsive to the request. Exhibit 4 is a copy of the initial response I received. The e-mail

contained a completed FOIA Request Worksheet indicating that an SIS Technician had searched

the hard drive where such video surveillance footage from the closed circuit television system is

maintained and in half an hour, he identified the responsive surveillance footage. Because the

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requested item took the form of surveillance footage, it was explained a copy the relevant video

footage would be sent to me via the U.S. Postal Service (regular mail). See Exhibit 4. I received

a disc with the actual relevant video on or about March 6, 2014.

       6.      I undertook a review of the security system surveillance video footage.

       a.      I determined § 552(b) (7) (F) applies to prevent release of the video as it "could

reasonably be expected to endanger the life or physical safety of any individual." I believe

release of the video would be detrimental to the future safety and security of the institution and

the staff assigned there. I considered that the video was completed for law enforcement purposes

based on the BOP’s Correctional Services Division identification of closed circuit video cameras

as components of the physical security systems employed in correctional facilities along with

such things as fences, locks, and alarms.” I have attached an excerpt of the Correctional Series

Cross Development Course identifying the CCTV system as part of the physical security utilized

at BOP prisons as exhibit 5. Public review of the video would allow scrutiny of the quality and

gaps in video coverage of the video surveillance capabilities in this area of the United States

Penitentiary, and could be used to discern the internal physical layout of this area in the United

States Penitentiary as well as estimate staff response times to request for assistance. This

information could be used to better anticipate staff’s efforts to prevent, respond to and if needed

prosecute individuals for actions taken by them in future situations, and potentially prolonging or

thwarting staff’s efforts to maintain a safe and secure environment. The release of this video may

also endanger the staff members who participated in the response to the call for assistance,

subjecting them to possible retribution in the future, especially because their identities have not

been revealed, but each is clearly identifiable by their faces which are clearly visible in the

recording. Although the identity of staff members responding to calls for assistance are not

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regularly revealed to inmates or the public, to the extent their identities are known and

maintained by the BOP, that information is maintained to allow for internal review of any

immediate use of force and allows for any necessary administrative action to be taken.

        b.     I believed the privacy exemption pursuant to § 552(b) (7) (C) applied as the video

contained images of BOP staff who did not give their consent for release of their images.

        c.     Finally, I considered whether or not the video could be apportioned so I could

release portions that were not exempt from release. However, based on the governmental interest

to prevent disclosure of information about the physical structure of the United States Penitentiary

that could be used to undermine or elude existing security, and the fact staff images are present

throughout much of the video captured and retained and are always present during the period of

the video specifically sought by Mr. Goodwin, I did not believe the footage could be apportioned

for release.

        7.     I presented my review and assessment to Dennis Wong, Regional Counsel,

though a draft letter responding to the request. On March 21, 2014, Mr. Wong, signed a letter

explaining to Mr. Goodwin, the record he sought was located, but further explained that after

careful review it was determined that the requested surveillance video was being withheld

pursuant to two exemptions to the release provisions of the FOIA. The stated exemptions were

those I recommended: 5 U.S.C. § 552(b)(7)(C) & (b)(7)(F). The letter also informed Mr.

Goodwin that he could appeal the decision to withhold the video surveillance recording from

disclosure to the Office of Information Policy (OIP). A copy of the letter responding to Mr.

Goodwin’s FOIA request is provided as Exhibit 6 to this declaration.

        8.     Records maintained by BOP demonstrate Mr. Goodwin appealed BOP’s decision

to OIP in Washington, D.C. This appeal was assigned tracking number AP-2014-02976 by OIP.

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Exhibit 1 – FOIA Request
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Exhibit 2 – Initial Letter to Requester
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                                                                           U.S. Department of Justice
                                                                            Federal Bureau of Prisons



Freedom of Information/Privacy Act                                             Western Regional Office

February 28, 2014


Walter Goodwin
Reg. No. 32453-160
UPS Tucson
P. O. Box 24550
Tucson, AZ 85734-4550

Dear Requester;

The Federal Bureau of Prisons is in receipt of your Freedom of Information Act/Privacy Act (FOIA)
request. Your request has been assigned a number and forwarded to the processing office noted below.
Please make a note of the request number and processing office as you will need to include it in any
correspondence or inquiry regarding your request.

FOIA/PA Request Number:          2014-04855
Processing Office:               WXR
Requested Records:               Video Recording of incident on Octoer 25, 2013, ocurring
                                 in the Psychology department at approximately 9:45am

Due to the large number of requests received by the Bureau of Prisons for disclosure of records pursuant
to the Freedom of Information and Privacy Acts, and due to the limited resources available to process
such requests, the Bureau of Prisons has adopted a first-in/first-out practice of processing all incoming
requests.

Your request has been placed in chronological order based on the date of receipt and will be handled as
expeditiously as possible when it is assigned for processing. While most requests can be processed
within 20 working days, exceptions may exist.

Unless you indicated otherwise, by submission of your request, you have agreed to pay fees up to
$25.00, as stated in 28 C.F.R. 16.3(c). Please note that pursuant to 28 C.F.R. 16.11, we are required to
charge fees for time spent searching for or duplicating responsive documents. If we anticipate that your
fees will be in excess of $25.00 or the amount you have indicated you are willing to pay, we will notify you
of the estimated amount. At that time, you will have the option of modifying your request to reduce fees.

If you have questions regarding the status of your request, you may contact the Bureau of Prisons FOIA
Service Center at 202-514-6655. You can also check the status of your request on line at
http://www.bop.gov/PublicInfo/execute/foia.

Sincerely,



Dennis M. Wong
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Exhibit 3 - E-mail Request for Search
Email Details                                                              Page 1 of 1
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 Email Details Information
 From Email            : WXRO/FOIA@bop.gov
 To Email              : chammock@bop.gov
 Cc Email              :
 Subject               : FOIA #2014-04855 (Goodwin 32453-160)
 Email Body            :
  FOIA Request Number: 2014-04855 (Goodwin 32453-160)

  Due Date 03/14/12/14
  0ocuments Requested:
  Video Recording of Incident on 10/25/13, occurring in Psychology Department at approximately 9:45am

  Please complete the FOIA Worksheet and forward with responsive documents to WXRO/FOIA@bop.gov.
  Please do not hesitate to contact me at 209-956-9738 if you have any questions or concerns. Your assistance in
  this matter is greatly appreciated.




https://bop-foia-app.bop.gov/FOIAXpress/request/afxEmailDetailsLog.aspx?Print=Print...                  11/12/2014
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Exhibit 4 – E-mail Response to Search Request
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WXRO/FOIA - Re: FOIA #2014-04855 (Goodwin 32453-160)


From:      Christi Hammock
To:        WXRO/FOIA.WXR_ADM1.WXR_DOM1@bop.gov
Date:      3/3/2014 2:35 PM
Subject:   Re: FOIA #2014-04855 (Goodwin 32453-160)



Hello. I was able to get this information on CD. I will snail mail it in the morning. Should I send it to your
attention?



Christi Hammock
Warden’s Secretary (FCI)
FCC Tucson, AZ
 Email: chammock@bop.gov
Office: (520) 574‐7104
 Fax: (520) 663‐4406
 Hours: 7:30 a.m. ‐ 4:00 p.m.
>>> "Ochoa, Beth" <WXRO/FOIA@bop.gov> 2/28/2014 3:52 PM >>>
FOIA Request Number: 2014-04855 (Goodwin 32453-160)

Due Date 03/14/12/14
0ocuments Requested:
Video Recording of Incident on 10/25/13, occurring in Psychology Department at approximately 9:45am

Please complete the FOIA Worksheet and forward with responsive documents to WXRO/FOIA@bop.gov.
Please do not hesitate to contact me at 209-956-9738 if you have any questions or concerns. Your assistance in
this matter is greatly appreciated.




file://C:\Users\bop34038\AppData\Local\Temp\XPgrpwise\5314932FWXR_DOM1WXR... 11/12/2014
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Exhibit 5 – Excerpt of Correctional Services Cross
             Development Course
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Correctional Services Cross Development                                 Chapter 2


                                          Chapter Two

                                    Physical Security

Introduction
Physical security is a combination of physical security systems
and procedures and policies.
Physical security systems include such items as barriers, fences,
gates, and checkpoints. Other components can include closed
circuit video cameras (CCTV), locks, and alarms.
Procedures and policies are those methods of making sure the
mechanical parts of the system are working properly.


Objective
In this chapter you will develop a good understanding of the way
these two areas of physical security work together in an
institution.
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Exhibit 6 – Letter Response to FOIA Request
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Exhibit 7 - E-mail From OIP
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Beth Ochoa - Re: Pending Appeal (AP-2014-02976, BOP request no. 2014-04855 -
requester Walter L. GOODWIN)


From:             Beth Ochoa
To:               Breyan, Jonathan (OIP); Hunt, Wanda
Date:             6/24/2014 11:57 AM
Subject:          Re: Pending Appeal (AP-2014-02976, BOP request no. 2014-04855 - requester Walter L. GOODWIN)
Attachments: 04855 Goodwin WS.pdf; Goodwin Request.pdf; Signed Determination.pdf



Hi Jonathan - -

Attached are the background documents.

Beth

>>> "Breyan, Jonathan (OIP)" <Jonathan.Breyan@usdoj.gov> 6/23/2014 10:15 AM >>>
Good morning, Beth:
The list below circulated by Wanda indicates that the above-referenced request was processed by you.
When you have a chance, would you mind sending the background to me? Thanks very much for your
assistance.

Regards,
Jonathan

From: Wanda Hunt [mailto:WHunt@bop.gov]
Sent: Monday, June 16, 2014 1:30 PM
To: Alex White; B. Kevin Cardwell; Beth Ochoa; Brenda Victor; Dominic Ayotte; Cornelia J. Coll; Carmen Rinella; C.
Darnell Stroble; Christi Treadway; Donna Johnson; Denise Gottleib; Dennis M. Wong; Johnna M. Todd; Jennifer
Vickers; Jason Sickler; John Wallace; Kara Christenson; Kenneth Hyle; Kimberly Blow; Lisa Sunderman; Michael
Frazier; Monica L. Potter-Johnson; Michelle Wirth; Matthew W. Mellady; Maria Syed; Michael Tafelski; Nakia
Jackson-Waters; Jay Jimenez; Beth Hull; Roy Lathrop; Rick Winter; Richard Schott; Ron Hill; Sandra Smith; Sarah
Lilly; Sandy Raymond; Serina Contreras; Violet Mack; William Baumgartel; Wanda Hunt; Wilson Moorer
Cc: Jonathan Breyan
Subject: Appeal List June 16, 2014

Wanda Hunt
Chief FOIA/PA Section
Office of the General Counsel
Federal Bureau of Prisons
202-514-6655

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